      Case 1:18-cv-00152-JEB Document 81 Filed 10/15/18 Page 1 of 3



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
RONNIE STEWART, et al.,                    )
                                           )
                              Plaintiffs,  )
                                           )
            v.                             ) No. 1:18-cv-0152-JEB
                                           )
ALEX M. AZAR, et al.                       )
                                           )
                              Defendants. )
                                           )

                                JOINT STATUS REPORT

        In accordance with the Court’s minute order on August 30, 2018, plaintiffs Ronnie

Maurice Stewart, et al., federal defendants Alex M. Azar, et al., and intervenor-defendant the

Commonwealth of Kentucky (collectively, the “parties”) respectfully submit the following

joint status report.

    1. On July 19, 2018, in light of this Court’s remand order, the Centers for Medicare &

        Medicaid Services (“CMS”) opened another 30-day federal public comment period

        so that the public could submit comments regarding (1) Kentucky's original August

        24, 2016, demonstration project proposal under 42 U.S.C. § 1315; (2) Kentucky’s

        July 3, 2017, revised proposal; and (3) the special terms and conditions (“STCs”) that

        CMS approved on January 12, 2018, in connection with Kentucky’s proposals.

    2. The federal comment period closed on August 18, 2018.

    3. On September 14, 2018, the parties filed a Joint Status Report with the Court. See

        ECF No. 79.

    4. CMS continues to evaluate Kentucky’s application and the submitted comments.

    5. The parties will update the Court in their next joint status report, due on November

        15, 2018, regarding any further developments. See Aug. 30, 2018 Minute Order.


                                             -1-
     Case 1:18-cv-00152-JEB Document 81 Filed 10/15/18 Page 2 of 3




Dated: October 15, 2018                Respectfully submitted,

                                       JOSEPH H. HUNT
                                       Assistant Attorney General

                                       MICHELLE BENNETT
                                       Senior Trial Counsel
                                       Federal Programs Branch

                                       /s/ Matthew Skurnik
                                       VINITA ANDRAPALLIYAL
                                       MATTHEW SKURNIK
                                       Trial Attorneys
                                       U.S. Department of Justice
                                       Civil Division, Federal Programs Branch
                                       300 L Street N.W.
                                       Washington, D.C. 20005
                                       (202) 616-8188 (telephone)
                                       Matthew.Skurnik@usdoj.gov

                                       Counsel for the Federal Defendants

                                       /s/ Jane Perkins
                                       Jane Perkins
                                       Catherine McKee
                                       Sarah Somers
                                       National Health Law Program
                                       200 N. Greensboro Street, Suite D-13
                                       Carrboro, NC 27510
                                       Phone: 919-968-6308 (x101)
                                       perkins@healthlaw.org
                                       mckee@healhtlaw.org

                                       Counsel for Plaintiffs

                                       /s/ Matthew F. Kuhn
                                       M. STEPHEN PITT
                                       S. CHAD MEREDITH
                                       MATTHEW F. KUHN
                                       Office of the Governor
                                       700 Capital Avenue, Suite 101
                                       Frankfort, Kentucky 40601
                                       (502) 564-2611 (telephone)
                                       Steve.Pitt@ky.gov


                                 -2-
Case 1:18-cv-00152-JEB Document 81 Filed 10/15/18 Page 3 of 3



                                  Chad.Meredith@ky.gov
                                  Matt.Kuhn@ky.gov

                                  Counsel for the Commonwealth of Kentucky




                            -3-
